                               UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF TENNESSEE
                                       AT KNOXVILLE


 UNITED STATES OF AMERICA,                           )
                                                     )
                        Plaintiff,                   )
                                                     )
 v.                                                  )           No. 3:05-CR-124
                                                     )           (JORDAN/GUYTON)
 AMANDA HENRY and                                    )
 KENNETH BRIDGES,                                    )
                                                     )
                        Defendants.                  )


                                       PRETRIAL ORDER


                This action came before the Court pursuant to a telephone conference on January 22,

 2007 in which Hugh Ward, Jr. as counsel for the government and Barbara Clark as counsel for the

 defendant Amanda Henry, and Andrew Roskind as counsel for the defendant Kenneth Bridges,

 indicated that this Pretrial Order could be entered without the necessity of a formal hearing or

 pretrial conference.

                                                  I.

                There are no pending motions in this case.

                                                 II.

                Trial procedures to be followed in this case are as follows:

                (a) Jury Selection. The Court will conduct a preliminary voir dire examination of

 the jury, and then counsel will be permitted to conduct voir dire examination. The Court reserves

 the right to interrupt counsel and conduct voir dire on its own if counsel ask improper questions or

 if the proceedings are unnecessarily prolongated.



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                (b) Peremptory Challenges. Under Fed. R. Crim. P. 24(b)(2), the defendant is

 entitled to ten peremptory challenges and the government is entitled to six.

                (c) Novel Legal Issues for the Court. No novel or unusual legal issues were

 identified as of the time of the pretrial conference.

                (d) Novel Evidentiary Issues for the Court. No novel or unusual evidentiary

 problems were identified as of the time of the pretrial conference.

                (e) Special Requests for Jury Instructions. If counsel have any special requests

 for instructions to the jury, the same shall be filed at least five (5) working days before trial.

                (f) Additional Motions. No more motions, other than motions in limine, will be

 allowed to be filed in this cause of action by either side without prior leave of Court to do so, since

 the motion cut-off date has passed. All motions in limine must be filed at least five (5) working days

 before trial. Responses to motions in limine are due at least two (2) working days before trial.

                (g) Admissions and Stipulations. Counsel should meet in advance of trial and care-

 fully review the trial exhibits with a view toward stipulating the admissibility of as many exhibits

 as possible. Any admissions and stipulations of fact to be used at trial shall be signed by Defendant’s

 attorney and the Defendant and filed at least five (5) working days before trial.

                (h) Courtroom Decorum. Counsel are encouraged to familiarize themselves with

 Local Rule 83.3 and ensure that their clients are familiar with the contents of this rule.




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                                               III.

               This case will be set for trial before the Honorable Leon Jordan and a jury, to

 commence at 9:00 a.m. on January 29, 2007.

               If counsel have any objections to this Pretrial Order, such objection should be taken

 up pursuant to Local Rule 72.4(b), EDTN.

               IT IS SO ORDERED.

                                             ENTER:


                                                   s/ H. Bruce Guyton
                                             United States Magistrate Judge




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